                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF LOUISIANA


 PRESS ROBINSON, et al.,

                     Plaintiffs,

 v.

 KYLE ARDOIN, in his official capacity
 as Secretary of State for Louisiana,

                     Defendant.
                                           CIVIL ACTION
                                           NO. 3:22-CV-00211-SDD-SDJ
 consolidated with
                                           consolidated with
                                           NO. 3:22-CV-00214-SDD-SDJ
 EDWARD GALMON, SR., et al.,

 Plaintiffs,

 v.

 KYLE ARDOIN, in his official capacity
 as Secretary of State for Louisiana,

                     Defendant.


THE STATE OF LOUISIANA’S AND THE SECRETARY OF STATE’S JOINT
MOTION FOR EXTENSION OF TIME TO RESPOND TO THE MOTION FOR
                     RECONSIDERATION

       Under Federal Rule of Civil Procedure 6(b)(1)(A), the State of Louisiana and

the Secretary of State for Louisiana (together Defendants) jointly move to extend

their deadline to respond to the Galmon Plaintiffs’ Motion to Reconsider Dismissal

Ruling and to Schedule Remedial Proceedings. See ECF No. 372. The Court has given

Defendants until 10:00 a.m. on Monday, May 6, 2024, to respond to the Galmon

Plaintiffs’ Motion. See ECF No. 374. For its part, the three-judge panel in the Callais
litigation has scheduled a status conference for 10:30 a.m. on Monday—30 minutes

later—which may impact the Galmon Plaintiffs’ Motion here and Defendants’

corresponding response. For that reason and others further explained in the

Memorandum in Support of this Motion, Defendants respectfully request a very

modest extension of four hours—until 2:00 p.m. on Monday—to respond to the

Galmon Plaintiffs’ Motion.



Dated: May 2, 2024                       Respectfully Submitted,

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                            CERTIFICATE OF SERVICE

      I hereby declare that I served the foregoing document on counsel for all parties

via email on May 2, 2024.


                               /s/ Morgan Brungard
                                 Morgan Brungard
